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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                        )
In re:                                                                  )
                                                                        )   Chapter 11
                                                           1
HIGHLAND CAPITAL MANAGEMENT, L.P.,                                      )
                                                                        )   Case No. 19-34054 (SGJ)
                              Debtor.                                   )
                                                                        )
                                                                        )
OFFICIAL   COMMITTEE                       OF       UNSECURED           )
CREDITORS,                                                              )
                                                                        )
                              Plaintiff,                                )
vs.                                                                     )
                                                                        )
CLO HOLDCO, LTD., CHARITABLE DAF HOLDCO,                                )   Adv. Pro. No. 20-03195 (SGJ)
LTD., CHARITABLE DAF FUND, LP, HIGHLAND                                 )
DALLAS FOUNDATION, INC., THE DUGABOY                                    )
INVESTMENT TRUST, GRANT SCOTT III IN HIS                                )
INDIVIDUAL CAPACITY, AS TRUSTEE OF THE                                  )
DUGABOY INVESTMENT TRUST, AND AS                                        )
TRUSTEE OF THE GET GOOD NONEXEMPT                                       )
TRUST, AND JAMES D. DONDERO,                                            )
                                                                        )
                             Defendants.                                )
                                                                        )

                                      CERTIFICATE OF SERVICE

      I, Hannah Bussey, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Debtor in the above-captioned case.

        On July 29, 2021, at my direction and under my supervision, employees of KCC caused
the following document to be served via Electronic Mail upon the service list attached hereto as
Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:


                                           (Continued on Next Page)



1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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   •   The Official Committee of Unsecured Creditors' Motion to Further Extend the Stay
       of the Adversary Proceeding Through October 15, 2021 [Docket No. 70]


Dated: August 3, 2021
                                           /s/ Hannah Bussey
                                           Hannah Bussey
                                           KCC
                                           Meidinger Tower
                                           462 South 4th Street
                                           Louisville, KY 40202
                                           Tel 310.823.9000




                                           2
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                             EXHIBIT A
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                                                                 Exhibit A
                                                           Adversary Service List
                                                          Served via Electronic Mail


             Description                       CreditorName                CreditorNoticeName                              Email
                                                                                                          john@bondsellis.com;
                                                                                                          john.wilson@bondsellis.com;
                                                                      John Y. Bonds, III, John T. Wilson, bryan.assink@bondsellis.com;
                                        Bonds Ellis Eppich Schafer IV, Bryan C. Assink, Clay M.           clay.taylor@bondsellis.com;
Counsel for James Dondero               Jones LLP                     Taylor, William R. Howell, Jr.      william.howell@bondsellis.com
Financial Advisor to Official Committee                               Earnestiena Cheng, Daniel H         Earnestiena.Cheng@fticonsulting.com;
of Unsecured Creditors                  FTI Consulting                O'Brien                             Daniel.H.O'Brien@fticonsulting.com
                                                                      Melissa S. Hayward, Zachery Z.      MHayward@HaywardFirm.com;
Counsel for the Debtor                  Hayward & Associates PLLC Annable                                 ZAnnable@HaywardFirm.com
                                                                                                          ddraper@hellerdraper.com;
Counsel for the Dugaboy Investment                                    Douglas S. Draper, Leslie A.        lcollins@hellerdraper.com;
Trust and Get Good Trust                Heller, Draper & Horn, L.L.C. Collins, Greta M. Brouphy           gbrouphy@hellerdraper.com
Counsel for CLO Holdco, Ltd. and Grant Kane Russell Coleman                                               jcoleman@krcl.com;
Scott                                   Logan PC                      Joseph M. Coleman, John J. Kane jkane@krcl.com
                                                                                                          hugh.connor@kellyhart.com;
Counsel for CLO Holdco, Ltd. and                                      Hugh G. Connor II, Michael D.       michael.anderson@kellyhart.com;
Highland Dallas Foundation, Inc.        Kelly Hart & Hallman          Anderson, Katherine T. Hopkins      katherine.hopkins@kellyhart.com
Counsel for CLO Holdco, Ltd. and
Highland Dallas Foundation, Inc.        Kelly Hart & Pitre            Amelia L. Hurt                      amelia.hurt@kellyhart.com
Counsel for CLO Holdco, Ltd. and
Highland Dallas Foundation, Inc.        Kelly Hart & Pitre            Louis M. Phillips                   louis.phillips@kellyhart.com
Counsel for UBS Securities LLC and                                                                        andrew.clubok@lw.com;
UBS AG London Branch                    Latham & Watkins LLP          Andrew Clubok, Sarah Tomkowiak sarah.tomkowiak@lw.com
Counsel for UBS Securities LLC and                                                                        asif.attarwala@lw.com;
UBS AG London Branch                    Latham & Watkins LLP          Asif Attarwala, Kathryn K. George Kathryn.George@lw.com
Counsel for UBS Securities LLC and                                                                        jeff.bjork@lw.com;
UBS AG London Branch                    Latham & Watkins LLP          Jeffrey E. Bjork, Kimberly A. Posin kim.posin@lw.com
Counsel for UBS Securities LLC and                                                                        Zachary.Proulx@lw.com;
UBS AG London Branch                    Latham & Watkins LLP          Zachary F. Proulx, Jamie Wine       Jamie.Wine@lw.com
Counsel for CLO Holdco, Ltd. / Trustee
for the Dugaboy Investment Trust and
Get Good Nonexempt Trust / Charitable
DAF Fund, L.P. / Grant James Scott III
in His Individual Capacity              Myers Bigel P.A.              Grant Scott, Director               gscott@myersbigel.com
Counsel for CLO Holdco, Ltd. and                                                                          MAS@SbaitiLaw.com;
Charitable DAF Fund, L.P.               Sbaiti & Company PLLC         Mazin A Sbaiti, Jonathan Bridges jeb@sbaitilaw.com
                                                                                                          mclemente@sidley.com;
                                                                      Matthew Clemente, Alyssa            alyssa.russell@sidley.com;
Counsel for Official Committee of                                     Russell, Elliot A. Bromagen,        ebromagen@sidley.com;
Unsecured Creditors                     Sidley Austin LLP             Dennis M. Twomey                    dtwomey@sidley.com
                                                                                                          preid@sidley.com;
                                                                      Penny P. Reid, Paige Holden         pmontgomery@sidley.com;
Counsel for Official Committee of                                     Montgomery, Juliana Hoffman,        jhoffman@sidley.com;
Unsecured Creditors                     Sidley Austin LLP             Chandler M. Rognes                  crognes@sidley.com




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                             EXHIBIT B
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                                                                                               Exhibit B
                                                                                         Adversary Service List
                                                                                       Served via First Class Mail


              Description                         CreditorName                   CreditorNoticeName                      Address1             Address2    Address3       City      State      Zip
                                                                          John Y. Bonds, III, John T.
                                          Bonds Ellis Eppich Schafer      Wilson, IV, Bryan C. Assink, Clay     420 Throckmorton Street,
 Counsel for James Dondero                Jones LLP                       M. Taylor, William R. Howell, Jr.     Suite 1000                                           Fort Worth    TX      76102
 Counsel for the Dugaboy Investment                                       Douglas S. Draper, Leslie A.          650 Poydras Street, Suite
 Trust and Get Good Trust                 Heller, Draper & Horn, L.L.C.   Collins, Greta M. Brouphy             2500                                                 New Orleans LA        70130
 Counsel for CLO Holdco, Ltd. and         Kane Russell Coleman Logan      Joseph M. Coleman, John J.
 Grant Scott                              PC                              Kane                                  901 Main Street, Suite 5200                          Dallas        TX      75242-1699
 Counsel for CLO Holdco, Ltd. and                                         Hugh G. Connor II, Michael D.
 Highland Dallas Foundation, Inc.         Kelly Hart & Hallman            Anderson, Katherine T. Hopkins        201 Main Street, Suite 2500                          Fort Worth    TX      76102
 Counsel for CLO Holdco, Ltd. and                                                                               400 Poydras Street, Suite
 Highland Dallas Foundation, Inc.         Kelly Hart & Pitre              Amelia L. Hurt                        1812                                                 New Orleans LA        70130
 Counsel for CLO Holdco, Ltd. and
 Highland Dallas Foundation, Inc.         Kelly Hart & Pitre              Louis M. Phillips                 301 Main Street, Suite 1600                              Baton Rouge LA        70801
 Counsel for UBS Securities LLC and                                       Andrew Clubok, Sarah              555 Eleventh Street, NW,
 UBS AG London Branch                     Latham & Watkins LLP            Tomkowiak                         Suite 1000                                               Washington    DC      20004
 Counsel for UBS Securities LLC and                                                                         330 North Wabash Avenue,
 UBS AG London Branch                     Latham & Watkins LLP            Asif Attarwala, Kathryn K. George Ste. 2800                                                Chicago       IL      60611
 Counsel for UBS Securities LLC and                                       Jeffrey E. Bjork, Kimberly A.
 UBS AG London Branch                     Latham & Watkins LLP            Posin                             355 S. Grand Ave., Ste. 100                              Los Angeles   CA      90071
 Counsel for UBS Securities LLC and
 UBS AG London Branch                     Latham & Watkins LLP            Zachary F. Proulx, Jamie Wine         1271 Avenue of the Americas                          New York      NY      10020
 Counsel for CLO Holdco, Ltd. / Trustee
 for the Dugaboy Investment Trust and
 Get Good Nonexempt Trust /
 Charitable DAF Fund, L.P. / Grant
 James Scott III in His Individual
 Capacity                                 Myers Bigel P.A.                Grant Scott, Director                 4140 Park Lake Ave, Ste 600                          Raleigh       NC      27612
 Counsel for CLO Holdco, Ltd. and                                                                                                             2200 Ross   Suite
 Charitable DAF Fund, L.P.                Sbaiti & Company PLLC           Mazin A Sbaiti, Jonathan Bridges J.P. Morgan Chase Tower            Avenue      4900W      Dallas        TX      75201




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